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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS


                                                     MDL Docket No. 1629
In re: NEURONTIN MARKETING,
       SALES PRACTICES AND                           Master File No. 04-10981
       PRODUCTS LIABILITY LITIGATION
                                                     Judge Patti B. Saris

                                                     Magistrate Judge Leo T. Sorokin
THIS DOCUMENT RELATES TO:

MUSTAFA, ET. AL. V. PFIZER, INC., ET. AL.            Individual Case No. 06-11394



      MOTION FOR LEAVE TO WITHDRAW AS COUNSEL FOR PLAINTIFFS
              FAZILA MUSTAFA AND MOHAMMAD MUSTAFA

       John J. Driscoll, counsel for Plaintiffs Fazila Mustafa and Mohammad Mustafa,

respectfully moves for an order pursuant to Local Rules 7.1 and 83.5.2(c), granting Plaintiffs’

counsel’s leave to withdraw as counsel of record for Plaintiffs in this action. John J. Driscoll

was employed by the Law Firm of Brown & Crouppen, P.C. at the time the litigation was

initiated in 2006 and has since parted from Brown & Crouppen, P.C.             The Plaintiffs are

adequately represented by remaining counsel; Andrew G. Finkelstein, Kenneth B. Fromson, and

Eleanor Louise Polimeni, all of the law firm of Finkelstein & Partners, LLP.



Dated: 3/12/2009                                    Respectfully submitted,

                                                    /s/ John J. Driscoll
                                                    John J. Driscoll, IL Bar 6276464
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                                                    St. Louis, MO 63102
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                            CERTIFICATE OF SERVICE


       I hereby certify that this document filed through the ECF system has been served
pursuant to Case Management Order No. 3 via the Court’s ECF system on March 12, 2009.

                                              /s/ John J. Driscoll
                                              John J. Driscoll, IL Bar 6276464




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